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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA,
Case No. 2:17-CR-164(20)

Plaintiff, CHIEF JUDGE EDMUND A. SARGUS, JR.

Vv.

ERASMO HUMBERTO LIMA-MARTINEZ,
a/k/a, Tun Tun, Azul, and Chino,

Defendant.
OPINION AND ORDER
This matter is before the Court upon the request of Tim Merkle, appointed counsel for
Defendant Erasmo Humberto Lima-Martinez, for appointment of Brian Riggs as co-counsel. See
18 U.S.C. § 3005 (providing for two attorneys in capital cases, one of which is “learned in the
law applicable to capital cases”). The Court has considered the request and finds both Messrs.
Merkle and Rigg are learned in the law applicable to capital cases. Mr. Riggs has “distinguished
prior experience in state death penalty trials, appeals, or post-conviction review that, in
combination with co-counsel, will assure high-quality representation.” Guide to Judicial
Policies and Procedure, Vol. 7, Ch. 6, Federal Death Penalty and Capital Habeas Corpus
Representations, at § 620.30(e). The Court therefore APPOINTS Mr. Riggs as co-counsel for
Defendant Erasmo Humberto Lima-Martinez.

IT IS SO ORDERED.

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DATE EDMUND]. )SARGUS, JR.
CHIEF UNITED STATES DISTRICT JUDGE
